Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.535 Filed 03/09/23 Page 1 of 12




                        EXHIBIT A
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.536 Filed 03/09/23 Page 2 of 12




                                 SETTLEMENT AGREEMENT

           This Settlement Agreement (“Agreement”) is entered into among the United

    States of America, acting through the United States Department of Justice and on behalf

    of the U.S. Small Business Administration (“SBA”) (collectively the “United States”);

    the Michigan Education Association (“MEA”); and the Mackinac Center for Public

    Policy (the “Relator”) (hereafter collectively with the United States and MEA referred to

    as “the Parties”), through their authorized representatives.

                                            RECITALS

           A.      MEA is a labor union and a non-profit 501(c)(5) corporation with its

    principal place of business at 1216 Kendale Boulevard, East Lansing, Michigan 48823.

           B.      On January 11, 2022, the Relator filed a qui tam action in the United

    States District Court for the Western District of Michigan captioned United States ex rel.

    Mackinac Center for Public Policy v. The Michigan Education Association, et al., No.

    1:22-cv-28, pursuant to the qui tam provisions of the False Claims Act, 31 U.S.C.

    § 3730(b) (the “Civil Action”). The Relator alleged, among other things, that MEA

    submitted or caused the submission of false claims for payment in connection with the

    federal Paycheck Protection Program (“PPP”), which was established pursuant to the

    Coronavirus Aid, Relief, and Economic Security (“CARES”) Act.

           C.      The CARES Act, which was enacted in March 2020, was designed to

    provide emergency financial assistance to millions of Americans suffering economic

    effects caused by the COVID-19 pandemic. Section 1102(a)(2) of the CARES Act

    amended Section 7(a) of the Small Business Act, 15 U.S.C. §§ 631-657u, and authorized

    forgivable loans to eligible small businesses for job retention and certain other expenses,
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.537 Filed 03/09/23 Page 3 of 12




    through the PPP. To obtain a PPP loan, a qualifying business must submit a PPP loan

    application, which is signed by an authorized representative of the business. The loan

    application requires the business to acknowledge the program rules and make certain

    affirmative certifications to be eligible to obtain the PPP loan. A PPP loan application

    must be processed by a participating lender. If a loan application is approved, the

    participating lender funds the loan using its own money, which is 100% guaranteed by

    the SBA. The SBA pays the lender a processing fee for each loan.

           D.     The United States contends that it has certain civil claims against the MEA

    arising from its submission of a PPP loan application and receipt of PPP loan funds.

    Specifically, the United States contends MEA was ineligible for a PPP loan at the time it

    applied for and received the loan in 2020. As a result of the allegedly improper

    application for, and receipt of, the loan, the United States contends that MEA caused the

    SBA to pay the lender a processing fee. The conduct described in this Paragraph D is

    referred to below as the “Covered Conduct.”

           E.         On December 24, 2020, MEA voluntarily returned the loan, plus interest

    accrued to that date, to the lender.

           F.         This Settlement Agreement is neither an admission of liability by MEA

    nor a concession by the United States that its claims are not well founded.

           G.         Relator claims entitlement under 31 U.S.C. § 3730(d) to a share of the

    proceeds of this Settlement Agreement and to Relator’s reasonable expenses, attorneys’

    fees and costs.




                                                   2
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.538 Filed 03/09/23 Page 4 of 12




           To avoid the delay, uncertainty, inconvenience, and expense of protracted

    litigation of the above claims, and in consideration of the mutual promises and

    obligations of this Settlement Agreement, the Parties agree and covenant as follows:

                                   TERMS AND CONDITIONS

           1.      MEA shall pay to the United States ONE HUNDRED FIFTEEN

    THOUSAND, TWO HUNDRED SIXTY-FIVE DOLLARS ($115,265.00) (“Settlement

    Amount”) by electronic funds transfer pursuant to written instructions to be provided by

    the U.S. Attorney’s Office for the Western District of Michigan no later than fourteen

    (14) days after the Effective Date of this Agreement.

           2.      Relator claims entitlement to reasonable expenses, attorney’s fees, and

    costs pursuant to 31 U.S.C. § 3730(d)(1) against MEA. If Relator and MEA are unable to

    reach agreement on reasonable expenses, attorney’s fees, and costs absent Court

    intervention, Relator may submit a fee petition to the United States District Court for the

    Western District of Michigan seeking payment of its claimed reasonable expenses,

    attorney’s fees, and costs against MEA.

           3.      Subject to the exceptions in Paragraph 5 (concerning reserved claims)

    below, and upon the United States’ receipt of the Settlement Amount, the United States

    releases MEA from any civil or administrative monetary claim the United States has for

    the Covered Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733; the Program

    Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; or the common law theories of

    breach of contract, payment by mistake, unjust enrichment, and fraud.

           4.      Upon the United States’ receipt of the Settlement Payment described in

    Paragraph 1 above, Relator, for itself and for its heirs, successors, attorneys, agents, and



                                                  3
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.539 Filed 03/09/23 Page 5 of 12




    assigns, fully and finally releases MEA, along with its officers, directors, trustees, agents,

    and employees, from any and all claims, known or unknown, that the Relator has, or

    could have brought, in the Civil Action.

           5.      Notwithstanding the releases given in Paragraph 3 of this Agreement, or

    any other term of this Agreement, the following claims and rights of the United States are

    specifically reserved and are not released:

                   a.      Any liability arising under Title 26, U.S. Code (Internal Revenue

                           Code);

                   b.      Any criminal liability;

                   c.      Except as explicitly stated in the Agreement, any administrative

                           liability or enforcement right, or any administrative remedy,

                           including the suspension and debarment rights of any federal

                           agency;

                   d.      Any liability to the United States (or its agencies) for any conduct

                           other than the Covered Conduct;

                   e.      Any liability based upon obligations created by this Agreement;

                           and

                   f.      Any liability of individuals.

           6.      Relator and its heirs, successors, attorneys, agents, and assigns shall not

    object to this Agreement but agree and confirm that this Agreement is fair, adequate, and

    reasonable under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B). In

    connection with this Agreement and this Civil Action, Relator and its heirs, successors,

    attorneys, agents, and assigns agree that neither this Agreement, any intervention by the



                                                  4
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.540 Filed 03/09/23 Page 6 of 12




    United States in the Civil Action in order to dismiss the Civil Action, nor any dismissal

    of the Civil Action, shall waive or otherwise affect the ability of the United States to

    contend that provisions in the False Claims Act, including 31 U.S.C. §§ 3730(d)(3) and

    3730(e), bar Relator from sharing in the proceeds of this Agreement. Moreover, the

    United States and Relator and its heirs, successors, attorneys, agents, and assigns agree

    that they each retain all of their rights pursuant to the False Claims Act on the issue of the

    share percentage, if any, that Relator should receive of any proceeds of the settlement of

    its claim(s). The Relator’s claim to a share of the proceeds of the settlement amount

    described in Paragraph 1 is addressed by separate agreement.

           7.       Subject to Paragraph 2 above, Relator, for itself, and for its heirs,

    successors, attorneys, agents, and assigns, releases MEA, and its officers, directors,

    trustees, agents, and employees, from any liability to Relator arising from the filing of the

    Civil Action.

           8.       MEA waives and shall not assert any defenses MEA may have to any

    criminal prosecution or administrative action relating to the Covered Conduct that may be

    based in whole or in part on a contention that this Agreement bars a remedy sought in

    such criminal prosecution or administrative action, under the Double Jeopardy Clause in

    the Fifth Amendment of the Constitution, or under the Excessive Fines Clause in the

    Eighth Amendment of the Constitution.

           9.       MEA fully and finally releases the United States, its agencies, officers,

    agents, employees, and servants, from any claims (including attorneys’ fees, costs, and

    expenses of every kind and however denominated) that MEA has asserted, could have

    asserted, or may assert in the future against the United States, its agencies, officers,



                                                  5
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.541 Filed 03/09/23 Page 7 of 12




    agents, employees, and servants, related to the Covered Conduct or the United States’

    investigation or prosecution thereof.

            10.    a.     Unallowable Costs Defined: All costs (as defined in the Federal

    Acquisition Regulation, 48 C.F.R. § 31.205-47) incurred by or on behalf of MEA, and its

    present or former officers, directors, employees, shareholders, and agents in connection

    with:

                          (1)     the matters covered by this Agreement;

                          (2)     the United States’ audit(s) and civil investigation(s) of the

                                  matters covered by this Agreement;

                          (3)     MEA’s investigation, defense, and corrective actions

                                  undertaken in response to the United States’ audit(s) and

                                  civil investigation(s) in connection with the matters

                                  covered by this Agreement (including attorneys’ fees);

                          (4)     the negotiation and performance of this Agreement;

                          (5)     the payment MEA makes to the United States pursuant to

                                  this Agreement and any payments that MEA may make to

                                  Relator, including costs and attorneys fees,

    are unallowable costs for government contracting purposes (hereinafter referred to as

    “Unallowable Costs”).

                   b.     Future Treatment of Unallowable Costs: Unallowable Costs will

    be separately determined and accounted for by MEA, and MEA shall not charge such

    Unallowable Costs directly or indirectly to any contract with the United States.




                                                6
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.542 Filed 03/09/23 Page 8 of 12




                   c.      Treatment of Unallowable Costs Previously Submitted for

    Payment: Within 90 days of the Effective Date of this Agreement, MEA shall identify

    and repay by adjustment to future claims for payment or otherwise any Unallowable

    Costs included in payments previously sought by MEA or any of its subsidiaries or

    affiliates from the United States. MEA agrees that the United States, at a minimum, shall

    be entitled to recoup from MEA any overpayment plus applicable interest and penalties

    as a result of the inclusion of such Unallowable Costs on previously-submitted requests

    for payment. The United States, including the Department of Justice and/or the affected

    agencies, reserves its rights to audit, examine, or re-examine MEA’s books and records

    and to disagree with any calculations submitted by MEA or any of its subsidiaries or

    affiliates regarding any Unallowable Costs included in payments previously sought by

    MEA , or the effect of any such Unallowable Costs on the amount of such payments.

           11.     This Agreement is intended to be for the benefit of the Parties only.

           12.     Upon receipt of the payment described in Paragraph 1, above, the United

    States and the Relator shall promptly sign and file in the Civil Action a Joint Stipulation

    of Dismissal of the Civil Action as against MEA pursuant to Rule 41(a)(1), with

    prejudice, except as provided in Paragraph 2 above.

           13.     Each Party shall bear its own legal and other costs incurred in connection

    with this matter, including the preparation and performance of this Agreement, except as

    provided in Paragraph 2 above.

           14.     Each Party and signatory to this Agreement represents that it freely and

    voluntarily enters into this Agreement without any degree of duress or compulsion.




                                                 7
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.543 Filed 03/09/23 Page 9 of 12




             15.   This Agreement is governed by the laws of the United States. The

    exclusive jurisdiction and venue for any dispute relating to this Agreement is the United

    States District Court for the Western District of Michigan. For purposes of construing

    this Agreement, this Agreement shall be deemed to have been drafted by all Parties to

    this Agreement and shall not, therefore, be construed against any Party for that reason in

    any subsequent dispute.

             16.   This Agreement constitutes the complete agreement between the Parties.

    This Agreement may not be amended except by written consent of the Parties.

             17.   The undersigned counsel represent and warrant that they are fully

    authorized to execute this Agreement on behalf of the persons and entities indicated

    below.

             18.   This Agreement may be executed in counterparts, each of which

    constitutes an original and all of which constitute one and the same Agreement.

             19.   This Agreement is binding on MEA ’s successors, transferees, heirs, and

    assigns.

             20.   This Agreement is binding on Relator’s successors, transferees, heirs, and

    assigns.

             21.   All parties consent to the United States’ disclosure of this Agreement, and

    information about this Agreement, to the public.

             22.   This Agreement is effective on the date of signature of the last signatory to

    the Agreement (“Effective Date of this Agreement”). Facsimiles of signatures shall

    constitute acceptable, binding signatures for purposes of this Agreement.

                                   [SIGNATURE PAGES BELOW]



                                                 8
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.544 Filed 03/09/23 Page 10 of 12




            03/01/23
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.545 Filed 03/09/23 Page 11 of 12




                       MICHIGAN EDUCATION ASSOCIATION



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    DATED: 3/1/2023         BY:   ~               .


                                  Earl H. Wiman, Interim Executive Director
                                  MICHIGAN EDUCATION ASSOCIATION




    DATED:   _______       BY:    ______


                                  MICHAEL E. CAVANAUGH
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                                  Counselfor Michigan Education Association




                                       10
Case 1:22-cv-00028-HYJ-PJG ECF No. 38-1, PageID.546 Filed 03/09/23 Page 12 of 12




                 RELATOR - MACKINAC CENTER FOR PUBLIC POLICY




      DATED: j

                                    ACKJNAC CENTER FOR PUBLIC POLICY




      DATED: 03.01.2023     BY:
                                  JAMES R. PETERSON
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                                  45 Ottawa Ave. SW, Ste. 1100
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                                  Policy




                                        11
